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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BRYCE MARTINEZ                                        :
                               Plaintiff,              :
                                                       : Civil Case No. 2:25-cv-00377-MRP
 v.                                                    :
                                                       : JURY TRIAL DEMANDED
 KRAFT HEINZ COMPANY, INC., et al.                     :
                               Defendants.             :


              STIPULATION TO EXTEND DEADLINE FOR DEFENDANTS
                         TO RESPOND TO COMPLAINT

       WHEREAS, on January 22, 2025, Defendant The Kraft Heinz Company, identified in the

caption as Kraft Heinz Company, Inc., filed a Notice of Removal in this action;

       WHEREAS, Defendants in this action have been served on various dates and therefore

currently have differing deadlines to respond to Plaintiff’s Complaint;

       WHEREAS, the current earliest deadline for any Defendant to respond to the Complaint is

January 29, 2025;

       WHEREAS, to promote efficiency in responding to Plaintiff’s Complaint, Defendants

requested a uniform deadline and extension to respond to Plaintiff’s Complaint and further

requested that the deadline be the later of 60 days from January 29, 2025 or 30 days from a ruling

on any motion to remand, should one be filed by Plaintiff;

       WHEREAS, Plaintiff stipulates and agrees to this request; and

       WHEREAS, an extension to respond to Plaintiff’s Complaint will not otherwise impact

any other deadlines in this matter.
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        IT IS THEREFORE STIPULATED AND AGREED that:

        The deadline for all Defendants to respond to Plaintiff’s Complaint is extended to the later

of March 31, 2025 or 30 days from the ruling on any remand motion, should one by filed by

Plaintiffs.

        Pursuant to Local Rule of Civil Procedure 5.1.2(9), the undersigned attorneys have

consented to the submission of this document by counsel for Defendant The Kraft Heinz Company.


Dated: January 28, 2025


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IT IS SO ORDERED:



Dated:
                                              Hon. Mia Roberts Perez




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